Case 1:17-mc-00160-GMS Document 1-3 Filed 06/29/17 Page 1 of 33 PageID #: 81



                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF DELAWARE

  In re
                                                            Chapter 11
  FAH LIQUIDATING CORP. (f/k/a FISKER
                                                            No. 13-13087 (KG)
  AUTOMOTIVE HOLDINGS, INC.), et al.,
                                                            Jointly Administered
                  Debtors.

  EMERALD CAPITAL ADVISORS CORP., in Its
  Capacity as Trustee for the FAH Liquidating
  Trust,

                       Plaintiff,                           Adv. Pro. No. 15-51898 (KG)

                         -versus-
                                                            Relates to Docket Nos. 39, 40
  BAYERISCHE MOTOREN WERKE
  AKTIENGESELLSCHAFT,

                       Defendant.

                       NOTICE OF INTERLOCUTORY APPEAL

          Defendant Bayerische Motoren Werke Aktiengesellschaft hereby appeals to the

  United States District Court for the District of Delaware pursuant to 28 U.S.C.

  § 158(a)(3) from the Order and Memorandum Opinion entered by the Honorable Kevin

  Gross in the above-captioned adversarial bankruptcy proceeding on June 13, 2017.

  See D.I. 39, 40. Copies of the Order and the Memorandum Opinion are attached hereto

  as Exhibit A.

          The names of all parties to the Order and the Memorandum Opinion appealed

  from and the names, addresses, and telephone numbers of their respective attorneys are as

  follows:
Case 1:17-mc-00160-GMS Document 1-3 Filed 06/29/17 Page 2 of 33 PageID #: 82



  Emerald Capital Advisors Corp., in its Capacity as Trustee for the FAH Liquidating Trust
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Case 1:17-mc-00160-GMS Document 1-3 Filed 06/29/17 Page 3 of 33 PageID #: 83




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Case 1:17-mc-00160-GMS Document 1-3 Filed 06/29/17 Page 4 of 33 PageID #: 84



                                 Exhibit A




                       Order and Memorandum Opinion
Case 1:17-mc-00160-GMS
           Case 15-51898-KG
                        Document
                             Doc 1-3
                                 39 Filed 06/13/17
                                          06/29/17 Page
                                                   Page51of
                                                         of33
                                                            26PageID #: 85



                   IN THE UNITED STATES BANKRUPTCY COURT 
                        FOR THE DISTRICT OF DELAWARE 
 
    In re:                                             )          Chapter 11 
                                                       )    
    FAH LIQUIDATING CORP., et al., (f/k/a              )    
    FISKER AUTOMOTIVE HOLDINGS, INC.),                 )          Case No. 13‐13087(KG) 
                                                       )
                       Debtors.                        )
                                                       )
    EMERALD CAPITAL ADVISORS CORP., in                 )    
    Its Capacity as Trustee for the                    )          Adv. Pro. No. 15‐51898(KG) 
    FAH Liquidating Trust,                             )    
                                                       )    
                  Plaintiff,                           )    
                                                       )    
           v.                                          )    
                                                       )    
    BAYERISCHE MOTEREN WERKE                           )    
    AKTIENGESELLSCHAFT,                                )    
                                                       )          Re: D.I. 14 
                  Defendant.                           )
 
                                MEMORANDUM OPINION 

        The  Court  is  addressing  the  defendant’s  motion  to  dismiss  the  Complaint  (the 

“Motion  to  Dismiss”).    Emerald  Capital  Advisors  Corp.,  in  its  capacity  as  trustee  (the 

“Trustee”)  for  FAH  Liquidating  Trust,  filed  the  Complaint  in  which  it  seeks  to  avoid, 

recover,  and  have  turned  over  alleged  constructively  fraudulent  transfers  in  the  total 

amount of $32,579,798.87 (the “Transfers”) under Bankruptcy Code Sections 542, 544, 548, 

and  550.    The  Trustee  also  seeks  recovery  under  common  law  principles  of  unjust 

enrichment.    The  defendant,  Bayerische  Moteren  Werke  Aktiengesellschaft  (“BMW”), 
Case 1:17-mc-00160-GMS
           Case 15-51898-KG
                        Document
                             Doc 1-3
                                 39 Filed 06/13/17
                                          06/29/17 Page
                                                   Page62of
                                                         of33
                                                            26PageID #: 86



moved  to  dismiss  the  Complaint  for  failure  to  state  a  claim  upon  which  relief  can  be 

granted under Federal Rule of Civil Procedure 12(b)(6) (“Rule 12(b)(6)”), made applicable 

by Federal Rule of Bankruptcy Procedure 7012(b).  For the reasons the Court explains in 

this Memorandum Opinion, the Court will grant the Motion to Dismiss in part and deny 

it in part. 

                                              JURISDICTION 

        The Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 1334.  The 

proceeding is core under 28 U.S.C. § 157.  Venue in this District of Delaware is proper 

pursuant to 28 U.S.C. § 1409.   

                                                   FACTS1 

        Over three years ago, on November 22, 2013, the Debtors2 filed a petition for relief 

under  chapter  11  of  the  Bankruptcy  Code  (the  “Petition  Date”).    The  Debtors  were 

founded in 2007 to design, assemble, and manufacture premium plug‐in hybrid electric 

vehicles  in  the  United  States.    Declaration  of  Marc  Beilinson,  D.I. 3  (“Beilinson 

Decl.”)  ¶  5.    By  October  2011,  the  Debtors  began  delivering  for  sale  to  the  public  the 

centerpiece of their operations: the Karma sedan.  Beilinson Decl. ¶¶ 13, 17.  Around that 


        1 For the purposes of the Motion to Dismiss, the Court accepts all the Trustee’s well‐pled 
factual  allegations  in  the  Complaint  as  true.    See  Ashcroft  v.  Iqbal,  556  U.S.  662,  664‐65,  678‐84 
(2009).    The  Court  may  also  rely  on  the  documents  attached  as  exhibits  or  incorporated  by 
reference in the pleadings, and matters of public record.  In re Burlington Coat Factory Sec. Litig., 
114 F.3d 1410, 1426 (3d Cir. 1997).  
        2  The  Debtors  are  Fisker  Automotive  Holdings,  Inc.  and  Fisker  Automotive,  Inc. 
(collectively, the “Debtors”).   

                                                        2
Case 1:17-mc-00160-GMS
           Case 15-51898-KG
                        Document
                             Doc 1-3
                                 39 Filed 06/13/17
                                          06/29/17 Page
                                                   Page73of
                                                         of33
                                                            26PageID #: 87



same time, the Debtors were developing a second platform, the “N” or “Nina Platform,” 

to launch their second vehicle, the Atlantic sedan.  Id. ¶ 18.  To develop the Nina Platform, 

the Debtors entered into supply and  service agreements  with third‐party  vendors  and 

suppliers, including BMW.  Id. ¶ 18.  The Debtors faced many difficulties that prevented 

them from operating as planned and caused them to seek bankruptcy relief, including 

safety recalls related to battery packs supplied by a third party vendor and the loss of 

their lending facility provided through the United States Department of Energy (“DOE”).  

Id. ¶¶ 5‐12.  The Debtors sold their assets with the Court’s approval and on July 28, 2014, 

the Court entered an order confirming the Debtors’ Plan.  Through the Plan, the Debtors 

appointed the Trustee as their successor‐in‐interest and assigned to the Trustee all of their 

possible causes of action, including those against BMW.3 

       At  issue  are  payments  made pursuant to two agreements between Debtors  and 

BMW  (the  “Parties”).    In  April  2011,  the  Parties  entered  into  the  Preliminary 

Development Agreement (the “Development Agreement”) “for the installation of BMW 

N26B20 engines with parts and components into a Fisker Nina vehicle . . . for the purpose 

of securing the project’s milestones with the view of the conclusion of a final Purchase, 

Supply  and  Development  Agreement.”    Declaration  of  Samuel  R.  Howley,  D.I. 16 




       3 See Order Confirming Debtors’ Second Amended Joint Plan of Liquidation Pursuant to 
Chapter 11 of the Bankruptcy Code (with Technical Modifications), Case No. 13‐13087‐KG, D.I. 
1137, Art. IV.L; Supplement to the Debtors’ Second Amended Joint Plan of Liquidation Pursuant 
to Chapter 11 of the Bankruptcy Code, Case No. 13‐13087‐KG, D.I. 1071, Ex. B. 

                                              3
Case 1:17-mc-00160-GMS
           Case 15-51898-KG
                        Document
                             Doc 1-3
                                 39 Filed 06/13/17
                                          06/29/17 Page
                                                   Page84of
                                                         of33
                                                            26PageID #: 88



(“Howley Decl.”) Ex. A ¶ 1.  Three months later, on July 8, 2011 the Parties entered into 

the Purchase, Supply and Development Agreement (N20 4‐Cylinder Gasoline Engines, 

Parts  and  Components)  (as  subsequently  amended,  the  “Supply  Agreement,”  and 

together with the Development Agreement, the “Agreements”) for “the supply of BMW 

N20B20 engines [], other standard BMW Powertrain and chassis parts and components . 

. . for use in the Nina.”  Compl. ¶ 14; Howley Decl. Ex. B ¶ 1.1.  In accordance with the 

sale of the Debtors’ assets in the bankruptcy case, in May 2014, the Debtors rejected the 

Supply Agreement.4 

       The Agreements recognize that BMW is a corporation organized under the laws 

of the Federal Republic of Germany with its principal place of business at Petuelring 130, 

80809 Munich, Germany.  Compl. ¶ 13.  Further, in the Agreements, the Parties included 

provisions specifying that they are governed by German law and that Munich should be 

the exclusive place of jurisdiction.  Howley Decl. Ex. A ¶ 8.7, Ex. B ¶ 22.2. 

       Pursuant to the Development Agreement, the Parties agreed that Debtors would 

pay  BMW  for  its  services  in  three  tranches:  (1) €150,000.00  at  signing,  (2) €250,000.00 

“after  successful  engine  start‐up  in  vehicle  and  test  bench,”  and  (3) €300,000.00  on 

September  30,  2011.  Id. Ex. A ¶ 6.2.    Among  other  services  required  under  the 




       4  Notice  of  (A)  Rejection  of  Certain  Unexpired  Leases  and  Executory  Contracts,  (B) 
Assumption  of  Certain  Unexpired  Leases  and  Executory  Contracts,  (C)  And  Extension  of 
Retention Period with Respect to Certain Unexpired Leases and Executory Contracts, Case No. 
13‐13087‐KG, D.I. 923. 

                                                  4
Case 1:17-mc-00160-GMS
           Case 15-51898-KG
                        Document
                             Doc 1-3
                                 39 Filed 06/13/17
                                          06/29/17 Page
                                                   Page95of
                                                         of33
                                                            26PageID #: 89



Development  Agreement,  BMW  was  to  develop  and  deliver  six  prototype  N26B20 

engines and related parts.  Id. Ex. A, Annex 3. 

       Pursuant  to  the  Supply  Agreement,  Debtors  would  pay  three,  upfront,  yearly 

installments of €22 million for a total of €66 million to BMW for expanding its production 

capacity as needed to manufacture 515,000 engines.  Id. Ex. B, App. 5 ¶ 5.2.1.  The upfront 

payments  were  to  cover  BMW’s  “structural  invest[ment],  machining,  tooling,  [and] 

development  costs”  and  were  to  be  paid  to  BMW  “regardless  of  the  actual  volumes 

attained.”    Id. Ex. B,  App. 5 ¶ 5.2.1.    Also  pursuant  to  the  Supply  Agreement,  BMW 

“submitted to the direct oversight of, and agreed to make certain periodic reports to, the 

United States Department of Energy.”  Compl. ¶ 4. 

       In  2012,  the  Parties  amended  the  Supply  Agreement  and  modified  the  upfront 

payment  schedule  to  reflect  Debtors  reduced  forecast  for  production  needs.    Howley 

Decl. Ex. C,  App. 5 ¶ 5.2.1.    The  new  schedule  identified  Debtors’  first  €22  million 

payment made in 2011, relieved Debtors of their payment in 2012, and obligated Debtors  

to make payments of €7.5 million in 2013, €6.25 million in 2014, €5.0 million in 2015, and 

€1.25 million in 2016.  Id. 

        

        




                                              5
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page10
                                                          6 of 26
                                                               33 PageID #: 90



       According to the Agreements, Debtors made the following wire transfers in the 

total amount of $32,579,798.87 (collectively, the “Transfers”)5: 

                 On or about June 30, 2011, a payment in the amount of $215,817.00; 

                 On or about July 29, 2011, a payment in the amount of $31,570,220.00; 

                 On or about December 20, 2011, a payment in the amount of $351,787.50; 

                 On or about April 4, 2012, a payment in the amount of $400,581.00; and 

                 On or about April 9, 2012, a payment in the amount of $41,393.37. 

Compl. ¶ 15.    BMW  acknowledges  that  Debtors  made  all  three  tranche  payments 

required under the Development Agreement on June 30, 2011, December 20, 2011, and 

April 4, 2011.  Motion to Dismiss, at 7. BMW also identifies the July 29, 2011 payment as 

the 2011 upfront payment of €22 million required under the Supply Agreement. 

       The  Trustee  alleges  that  BMW  did  not  manufacture  or  deliver  to  Debtors  any 

engines pursuant to the Agreements or otherwise give any value to Debtors in exchange 

for the Transfers.  Compl. ¶ 16.  It further claims that BMW has not returned the Transfers 

or their value.   Id. ¶ 17. 

                                          Legal Standard 

       Rule  8(a)(2)  provides  that  a  claim  for  relief  must  contain  “a  short  and  plain 

statement of the claim showing that the pleader is entitled to relief.”  FED. R. CIV. P. 8(a)(2); 

FED. R. BANKR. P. 7008.  Accordingly, Rule 12(b)(6) allows a defendant to move to dismiss 


       5      Debtors made the transfers in Euros and the stated Dollar amount is an approximation. 

                                                  6
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page11
                                                          7 of 26
                                                               33 PageID #: 91



a complaint for “failure to state a claim upon which relief can be granted.”  FED.  R.  CIV. 

P. 12(b)(6); FED. R. BANKR. P. 7012(b).  In doing so, the defendant bears the burden of proof 

to show the plaintiff has not stated a claim.  Kehr Packages, Inc. v. Fidelcor, Inc., 926 F.2d 

1406, 1409 (3d Cir. 1991). 

       In Bell Atlantic Corp. v. Twombly in 2007and Ashcroft v. Iqbal in 2009, the Supreme 

Court  reexamined  the  Rule  8(a)(2)  notice  pleading  standard  in  the  context  of  a  Rule 

12(b)(6) motion to dismiss. See Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007); and 

Ashcroft  v.  Iqbal,  556  U.S.  662,  678  (2009).    In  Twombly,  the  Supreme  Court  held  that  a 

complaint  must  contain  “enough  facts  to  state  a  claim  to  relief  that  is  plausible  on  its 

face.”  Twombly, 550 U.S. at 570.  The Supreme Court explained that “[f]actual allegations 

must be enough to raise a right to relief above the speculative level . . . on the assumption 

that all the allegations in the complaint are true (even if doubtful in fact).”  Twombly, 550 

U.S. at 555 (citations omitted). 

       Later, in Iqbal, the Supreme Court clarified that the Twombly plausibility standard 

applies to  all civil suits filed in federal courts and identifies two “working principles” 

underlying the Twombly decision.  Iqbal, 556 U.S. at 678.  “First, the tenet that a court must 

accept  as  true  all  of  the  allegations  contained  in  a  complaint  is  inapplicable  to  legal 

conclusions. Threadbare recitals of the elements of a cause of action, supported by mere 

conclusory statements, do not suffice.”  Id. (citation omitted).  “Second, only a complaint 

that states a plausible claim for relief survives a motion to dismiss.  Determining whether 


                                                   7
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page12
                                                          8 of 26
                                                               33 PageID #: 92



a  complaint  states  a  plausible  claim  for  relief  will . . . be  a  context‐specific  task  that 

requires the reviewing court to draw on its judicial experience and common sense.”  Id. 

at 679 (citation omitted). 

       The Court will assess the Motion to Dismiss according to the framework provided 

by the Supreme Court and notes the observation of the Third Circuit that “[i]t remains an 

acceptable  statement  of  the  [Rule  8(a)(2)]  standard . . . that  courts  ‘accept  all  factual 

allegations as true, construe the complaint in the light most favorable to the plaintiff, and 

determine whether under any reasonable reading of the complaint, the plaintiff may be 

entitled to relief.’”  Phillips v. County of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008). 

                                          DISCUSSION 

A.     The Extraterritorial Application of Section 548 

       The Trustee’s first claim seeks to avoid certain of the Transfers as constructively 

fraudulent  under  Section  548(a)(1)(B).    Before  analyzing  whether  the  Trustee  has 

provided sufficient factual information to state a claim to avoid the Transfers, the Court 

needs to assess whether Section 548 can be applied to the Transfers.  BMW argues that 

the  avoidance  powers  of  Section  548  do  not  apply  to  the  Transfers  because  they  were 

extraterritorial  transactions,  they  occurred  in  Germany.    The  Trustee  argues  that  the 

Transfers were not extraterritorial. 

       There is a presumption against applying federal laws extraterritorially, “unless a 

contrary intent appears.”  Morrison v. National Australia Bank Ltd., 561 U.S. 247, 255 (2010); 


                                                  8
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page13
                                                          9 of 26
                                                               33 PageID #: 93



see Smith v. United States, 507 U.S. 197, 204 (1993) (explaining that contrary Congressional 

intent is shown “by the language of [the] statute and the legislative purpose underlying 

it”).    Courts  engage  in  a  two‐step  inquiry  when  determining  whether  to  apply  the 

presumption  against  extraterritoriality.    First,  a  court  must  determine  whether  the 

presumption  applies  by  “identifying  the  conduct  proscribed  or  regulated  by  the 

particular legislation  in  question” and by considering  whether  that conduct  “occurred 

outside of the borders of the U.S.”  See Societe Generale plc v. Maxwell Commc’n Corp. plc (In 

re Maxwell Commc’n Corp. plc), 186 B.R. 807, 816 (S.D.N.Y. 1995) (“Maxwell I”), aff’d on other 

grounds,  93  F.3d  1036  (2d  Cir.  1996)  (“Maxwell  II”).    Second,  if  the  presumption  is 

implicated, a court must examine the lawmakers’ intent to determine whether Congress 

“intended to extend the coverage of the relevant statute to such extraterritorial conduct.”  

Id. 

       After  reviewing  the  Complaint,  the  Court  finds  that  the  Transfers  were 

extraterritorial and adopts the reasoning of Judge Gerber in his decision in Weisfelner v. 

Blavatnik  (In  re  Lyondell),  543  B.R.  127  (Bankr.  S.D.N.Y.  2016),  where  he  held  that 

“Congress’ intent was to extend the scope of section 548 to cover extraterritorial conduct.”  

Lyondell, 543 B.R. at 148.  As such, the presumption of extraterritoriality does not prevent 

the Trustee’s use of Section 548’s avoidance powers in his first claim for relief. 

        

        


                                                9
Case 1:17-mc-00160-GMS
           Case 15-51898-KG
                        Document
                             Doc 1-3
                                 39 Filed 06/13/17
                                          06/29/17 Page
                                                   Page14
                                                        10of
                                                          of33
                                                             26PageID #: 94



       1.      Whether the Transfers were Extraterritorial 

       To  determine  whether  the  conduct  regulated  by  the  statute  at  issue  occurred 

outside the borders of the U.S., many courts apply a “center of gravity” test, examining 

the facts of the case to see whether they have a center of gravity outside the United States.  

See, e.g., French v. Liebmann (In re French), 440 F.3d 145, 149 (4th Cir. 2006), cert. denied, 549 

U.S. 815 (2006); In re Florsheim Group Inc., 336 B.R. 126, 130 (Bankr. N.D. Ill. 2005).  This 

“flexible”  approach  allows  courts  “to  consider  all  component  events  of  the  transfers,” 

Maxwell I, 186 B.R. at 816, including “whether the participants, acts, targets, and effects 

involved in the transaction at issue are primarily foreign or primarily domestic.”  French, 

440 F.3d at 150.  “It is a rare case of prohibited extraterritorial application that lacks all 

contact with the territory of the United States. But the presumption against extraterritorial 

application  would  be  a  craven  watchdog  indeed  if  it  retreated  to  its  kennel  whenever 

some  domestic  activity  is  involved  in  the  case.”    Morrison,  561  U.S.  at  266.    See  also, 

Mervyn’s  LLC  v.  Lubert‐Adler  Grp.  IV,  LLC  (In  re  Mervyn’s  Holdings,  LLC)  426  B.R.  488 

(Bankr. D. Del. 2010) (applying most significant relationship test). 

       BMW argues that the subject of Count I, the Transfers in violation of Section 548, 

took place outside of the United States.  BMW says that the Transfers were extraterritorial 

because  they  centered  on  development  work  undertaken  by  a  German  company 

pursuant to German contracts, which require the application of German law.  Moreover, 




                                                  10
Case 1:17-mc-00160-GMS
           Case 15-51898-KG
                        Document
                             Doc 1-3
                                 39 Filed 06/13/17
                                          06/29/17 Page
                                                   Page15
                                                        11of
                                                          of33
                                                             26PageID #: 95



BMW highlights that it was to deliver the work in Germany in exchange for payment by 

Debtors in Euros.  Therefore, claims BMW, the transfers are foreign transactions. 

       The Trustee responds that the Court should not solely focus on the fact that the 

Transfers were sent to BMW in Germany.  Instead, the Court should consider that the 

Transfers originated from the United States, by a Delaware corporation headquartered in 

California, using funds provided by U.S. taxpayers through a DOE loan program. The 

Court notes that BMW disputes that the DOE earmarked its funds to pay BMW. 

       A review of the allegations in the Complaint shows the center of gravity for the 

Transfers was Germany.  The most compelling facts showing domestic activity—that the 

transfers originated in the United States from a Delaware corporation—are insufficient to 

overcome the primarily foreign nature of the Agreements.  These include the milestones 

to be achieved at BMW’s production facilities in Germany, the provisions mandating the 

forum for disputes as Munich, the applicable law being German, and payment required 

in Euros.  See, e.g., Sherwood Investments Overseas Ltd., Inc. v. The Royal Bank of Scotland N.V. 

(In re Sherwood Investments Overseas Ltd., Inc.), 2015 WL 4486470 (Bankr. M.D. Fla. July 22, 

2015)  (finding  a  transfer  from  a  Swiss  bank  account  to  an  English  bank  account  to  be 

extraterritorial even though the transfer was initiated from the U.S.). 

       2.    Whether Congress Intended Section 548 to Apply to Extraterritorial Transfers  
        
       Finding the Transfers extraterritorial, the presumption against extraterritoriality is 

implicated.  Now, the Court must examine the lawmakers’ intent to determine whether 


                                                11
Case 1:17-mc-00160-GMS
           Case 15-51898-KG
                        Document
                             Doc 1-3
                                 39 Filed 06/13/17
                                          06/29/17 Page
                                                   Page16
                                                        12of
                                                          of33
                                                             26PageID #: 96



Congress intended Section 548 to reach such foreign transfers.  Recognizing that there is 

a split of authority,6 the Court adopts the reasoning in the Lyondell decision, holding that 

Section 548 applies extraterritorially. 

       In  Lyondell,  the  court  observed  that  although  “[t]he  text  of  section  548  does  not 

contain any express language or indication that Congress intended the statute to apply 

extraterritorially . . . courts may look to ‘context,’ including surrounding provisions of 

the Bankruptcy Code, to determine whether Congress nevertheless intended that statute 

to apply extraterritorially.”  543 B.R. at 151. 

       The Lyondell court incorporated the reasoning of the Fourth Circuit in its French 

decision,  where  the  court  read  Section  548  harmoniously  with  Section  541  to  find  that 

Congress expressed an intent for section 548 to apply extraterritorially: 

       Section 541 defines “property of the estate” as, inter alia, all “interests of the 
       debtor in property.”. . . In turn, [section] 548 allows the avoidance of certain 
       transfers of such “interest[s] of the debtor in property.”. . . By incorporating 
       the language of [section] 541 to define what property a trustee may recover 
       under his avoidance powers, [section] 548 plainly allows a trustee to avoid 

       6  Compare Maxwell I, 186 B.R. at 818‐20 (holding that Congress did not clearly express an 
intent for Section 547 to allow a trustee to avoid foreign preferential transfers), and Maxwell II, 93 
F.3d at 1054‐55 (affirming Maxwell I, but applying principles of comity to hold that U.S. Courts 
must defer to the courts and law of the U.K. to hold that the avoidance powers should not apply 
to the transfers at issue), and Spizz v. Goldfarb Seligman & Co. (In re Ampal‐Am. Israel Corp.), 562 
B.R. 601, 612 (Bankr. S.D.N.Y. 2017) (observing that the “Supreme Court read section 541(a) as a 
limitation on the trusteeʹs avoiding powers, not as an expansion of those powers” and holding 
that the avoidance provisions—both Sections 547 and 548—do not apply extraterritorially), with 
French, 440 F.3d at 151‐52 (holding that Section 548 “plainly allows a trustee to avoid any transfer 
of property that would have been ‘property of the estate’ prior to the transfer in question—as 
defined by § 541—even if that property is not ‘property of the estate’ now . . . Congress made 
manifest its intent that § 548 apply to all property that, absent a prepetition transfer, would have 
been property of the estate, wherever that property is located.”). 

                                                 12
Case 1:17-mc-00160-GMS
           Case 15-51898-KG
                        Document
                             Doc 1-3
                                 39 Filed 06/13/17
                                          06/29/17 Page
                                                   Page17
                                                        13of
                                                          of33
                                                             26PageID #: 97



       any transfer of property that would have been “property of the estate” prior 
       to the transfer in question as defined by [section] 541 even if that property 
       is not “property of the estate” now. 
        
French,  440  F.3d  at  152.    After  distinguishing  other  precedent  and  discussing  a  well‐

known commentator’s analysis of the same, the court in Lyondell came to the following 

conclusion: 

      [S]ection 541(a)(3) of the Bankruptcy Code supports a finding that Congress 
      intended section 548 to extend extraterritorially.  Section 541(a)(3) provides 
      that  any  interest  in  property  that  the  trustee  recovers  under  section  550 
      becomes property of the estate.  Section 550 authorizes a trustee to recover 
      transferred property to the extent that the transfer is avoided under either 
      section  544  or  section  548.    It  would  be  inconsistent  (such  that  Congress 
      could  not  have  intended)  that  property  located  anywhere  in  the  world 
      could be property of the estate once recovered under section 550, but that a 
      trustee could not avoid the fraudulent transfer and recover that property if 
      the center of gravity of the fraudulent transfer were outside of the United 
      States.  It is necessary to rule as the French court did in order to protect the 
      in rem jurisdiction of the bankruptcy courts over assets that Congress has 
      declared  become  property  of  the  estate  when  recovered  under  section 
      541(a)(3). 
       
Lyondell, 543 B.R. at 154‐55. 

       The  Court  agrees  with  the  holding  in  Lyondell.    The  Court  will  therefore  apply 

Section  548  extraterritorially  to  avoid  the  Transfers  but,  as  explained  below,  only 

$793,761.87 can be avoided. 

B.     The Claim for Constructive Fraud Under Bankruptcy Code Section 542, 548 
       and 550 
 
       The  Trustee’s  first,  third,  and  fourth  claims  are  for  avoidance,  recovery,  and 

turnover  of  certain  of  the  Transfers  as  constructively  fraudulent  under  Sections 


                                                13
Case 1:17-mc-00160-GMS
           Case 15-51898-KG
                        Document
                             Doc 1-3
                                 39 Filed 06/13/17
                                          06/29/17 Page
                                                   Page18
                                                        14of
                                                          of33
                                                             26PageID #: 98



548(a)(1)(B), 550, and 542.7  The Trustee must allege three elements to state a claim under 

Section 548(a)(1)(B).  He must allege first, that the transfers were made within two years 

of  the  Petition  Date.  11 U.S.C. § 548(a)(1).    Second,  he  must  allege  that  the  Debtors 

received  less  than  reasonably  equivalent  value  in  exchange  for  the  transfers.  

11 U.S.C. § 548(a)(1)(i).  Third, among the following three alternatives, he must allege that 

the  Debtors:  (1) were  insolvent  on  the  date  that  the  transfers  were  made  or  became 

insolvent  as  a  result  of  the  transfers;  (2) were  engaged  in  business  or  a  transaction,  or 

were about to engage in business or a transaction, for which any property remaining with 

the Debtors was an unreasonably small capital; or (3) intended to incur, or believed that 

the Debtors would incur, debts that would be beyond the their ability to pay as such debts 

matured.  11 U.S.C. § 548(a)(1)(ii). 

         1.       Whether the Trustee Adequately Alleges that Certain of the Transfers Were Made 
                  Within Two Years of the Petition Date 
          
         The  first  element  the  Trustee  must  allege  to  state  a  Section  548  claim  for 

constructive fraud is that Debtors made certain of the Transfers within two years of the 

Petition Date.  BMW argues that the Trustee’s Section 548 claim is limited by the two‐year 



           Bankruptcy  Code  Section  550(a)(1)  provides:  “to  the  extent  that  a  transfer  is  avoided 
         7

under  section  .  .  .  548  .  .  .  the  trustee  may  recover,  for  the  benefit  of  the  estate,  the  property 
transferred, or . . . the value of such property from the initial transferee of such transfer . . . .”  11 
U.S.C. § 550(a)(1).  As such, if the Trustee states a plausible claim for avoidance of the Transfers 
as  constructively  fraudulent  under  Section  548,  the  Trustee  also  states  a  plausible  claim  for 
recovery of the Transfers under Section 550.  Also, to the extent that the Trustee states a plausible 
claim for recovery of the Transfers under Section 550, the Trustee also states a plausible claim for 
turnover of the Transfers under Section 542(a). 

                                                         14
Case 1:17-mc-00160-GMS
           Case 15-51898-KG
                        Document
                             Doc 1-3
                                 39 Filed 06/13/17
                                          06/29/17 Page
                                                   Page19
                                                        15of
                                                          of33
                                                             26PageID #: 99



look back period, which would eliminate all but $793,761.87 of the total amount of the 

Transfers. 

       A review of the Complaint shows that Debtors made three wire transfers within 

two years of the Petition Date in the total amount of $793,761.87.  Those transfers  (using 

the  November  22,  2013  Petition  Date)  are  the  December  20,  2011  wire  transfer  in  the 

amount of $351,787.50, the April 4, 2012 transfer in the amount of $400,581.00, and the 

April 9, 2012 transfer in the amount of $41,393.37 (the “548(a)(1)(B) Eligible Transfers”).  

Based on the statutory look back period, the Trustee’s Section 548 claim may only reach 

back to the 548(a)(1)(B) Eligible Transfers.  As such, Trustee adequately alleges the first 

element  of  a  Section  548  claim  for  constructive  fraud  as  to  the  548(a)(1)(B)  Eligible 

Transfers.  The Debtors made the remaining and larger Transfers more than two years 

before the Petition Date.  Therefore, $31,786,216.13 cannot be avoided. 

       2.      Whether  the  Trustee  Adequately  Alleges  that  Debtors  Received  Less  Than 
               Reasonably Equivalent Value In Exchange For the Transfers 
        
       The  second  element  the  Trustee  must  allege  to  state  a  Section  548  claim  for 

constructive  fraud  is  that  Debtors  received  less  than  reasonably  equivalent  value  in 

exchange for the Transfers.  BMW argues that the Trustee fails to allege the absence of 

reasonably equivalent value because Debtors received reasonably equivalent value as a 

matter of law.  BMW also highlights that the Trustee has not avoided the Agreements at 

issue  here  and  therefore  the  Trustee  cannot  seek  to  avoid  payments  due  under  the 

Agreements.  BMW argues that Debtors made the Transfers in satisfaction of antecedent 
                                               15
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page20
                                                          16ofof33
                                                                 26PageID #: 100



debts owed under the Agreements, which constitute value.  As such, BMW argues there 

can be no claim for constructive fraud 

       The  Trustee  responds  that  discovery  will  show  that  BMW  did  not  provide  the 

Debtors  with  “the  equivalent  of  $33  million  of  value  in  exchange  for  the  Transfers.”  

Opposition  to  Motion  to  Dismiss,  14.    The  Trustee  argues  that  BMW  did  not  develop 

manufacturing facilities to produce the engines required by Debtors or otherwise provide 

any value to the Debtors or their estates.  The Trustee also points out that courts liberally 

review claims for constructive fraud where the plaintiff is a third party outsider to the 

transfer like the Trustee is here.  See Buckley v. Merrill Lynch & Co. (In re DVI, Inc.), 2008 

WL 4239120, at *2 (Bankr. D. Del. Sept.16, 2008) (“A bankruptcy trustee, as a third party 

outsider to the debtor’s transactions, is generally afforded greater liberality in pleading 

fraud.”)  (citation  omitted).  Lastly,  the  Trustee  argues  that  questions  as  to  reasonably 

equivalent value are not readily answerable upon a motion to dismiss given the factual 

issues involved. 

       The Court has observed that where a Trustee states a claim for constructive fraud, 

under  the  Rule  8(a)  pleading  requirements  “[a]ll  that  is  needed  at  this  stage  is  an 

allegation  that there was a transfer for less than reasonably equivalent value at a time 

when the Debtors were insolvent.”  In re DVI, 2008 WL 4239120, at *9.  Moreover, disputes 

as to the actual value of the transfer or value given in exchange for the transfer do not 

need  to  be  decided  on  a  motion  to  dismiss  so  long  as  “the  Trustee  has  identified  the 


                                                16
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page21
                                                          17ofof33
                                                                 26PageID #: 101



transfer by date and face amount and has alleged that it was for no consideration.”  Id. at 

*8. 

       A review of the Complaint shows that the Trustee alleges that the Debtors made 

the Transfers pursuant to the Agreements.  The Complaint also alleges that BMW did not 

manufacture  or  deliver  to  Debtors  the  engines  under  the  Agreements  or  otherwise 

provide any value to Debtors or the Debtors’ estate.  As such, the Court finds that the 

Trustee has adequately alleged the second element of a Section 548 claim for constructive 

fraud, that Debtors received less than reasonably equivalent value in exchange for the 

Transfers.  Finding the element sufficient upon a motion to dismiss does not constitute a 

ruling on the merits, and as such the Court notes that the issue of “reasonably equivalent 

value  is  a  fact  intensive  determination  that  typically  requires  testing  through  the 

discovery process.”  Charys Liquidating Trust v. McMahan Sec. Co., L.P. (In re Charys Holding 

Co.), 443 B.R. 628, 638 (Bankr. D. Del. 2010). 

       3.      Whether the Trustee Adequately Alleges Insolvency 

       The  third  element  the  Trustee  must  allege  to  state  a  Section  548  claim  for 

constructive fraud is that the Debtors were insolvent at the time of the Transfers.  BMW 

argues  that  the  Trustee  fails  to  provide  any  factual  allegations  that  would  support  a 

finding of insolvency, that the Trustee provides mere conclusory pleading, which must 

fail.  The Trustee responds that the limited information available in public records shows 




                                               17
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page22
                                                          18ofof33
                                                                 26PageID #: 102



that  during  the  time  period  when  Debtors  made  the  Transfers,  the  Debtors  were 

consistently and irrefutably insolvent. 

       Insolvency is a factual inquiry that often evades determination at the motion to 

dismiss stage.  See Halperin v. Moreno (In re Green Field Energy Svcs., Inc.), 2015 WL 5146161 

*7 (Bankr. D. Del. Aug. 31, 2015) (explaining that the trustee‐plaintiff need not provide a 

detailed valuation as to the timing of the  debtors’ insolvency at the motion to dismiss 

stage so long as there was some factual basis as to the debtors’ financial condition). 

       Based on a review of the Complaint, the documents incorporated by reference in 

the pleadings, and matters of public record, see In re Burlington Coat Factory Sec. Litig., 114 

F.3d at 1426, the Debtors began facing operating challenges as early as 2009 when they 

encountered delays in launching the Karma line.  Beilinson Decl. ¶¶ 38‐39.  Even in the 

fall  of  2011,  when  Debtors  began  selling  the  Karma  sedan,  the  Debtors  quickly  faced 

another setback with their battery pack supplier effecting a recall.  Id. at ¶¶ 40‐41.  Then 

a year later, the Debtors suffered losses when Hurricane Sandy destroyed almost all of 

Debtors’  Karma  inventory  in  the  United  States.    Id.  ¶ 42.    All  of  these  setbacks,  which 

occurred  during  the  time  that  Debtors  made  the  Transfers,  prevented  Debtors  from 

meeting milestones required under their DOE loan agreements.  Id. ¶¶ 43‐50.  Although 

more  detailed  analysis  may  be  required  to  prove  insolvency  at  trial,  the  Twombly 

plausibility standard “simply calls for enough fact to raise a reasonable expectation that 

discovery will reveal evidence of” the necessary element.  Twombly, 550 U.S. at 556.  Given 


                                                 18
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page23
                                                          19ofof33
                                                                 26PageID #: 103



Twombly and given the difficulty of discerning insolvency at the motion to dismiss stage, 

the Court finds that the Trustee adequately alleges the third element of a Section 548 claim 

for constructive fraud, and that the Transfers were made at time when the Debtors were 

insolvent or became insolvent as a result of the Transfers.  

       In sum, the Court concludes that the Trustee has adequately alleged each of the 

elements  of  a  Section  548  claim  for  constructive  fraud,  but  that  the  Trustee’s  claim  is 

limited to the 548(a)(1)(B) Eligible Transfers as a result of the two‐year look back period.  

For that reason, the Court will deny BMW’s Motion to Dismiss the Trustee’s Count I, III 

and  IV  claims  for  avoidance,  recovery,  and  turnover  of  certain  of  the  Transfers  as 

constructively  fraudulent  or  the  $793,761.87  in  Transfers  and  will  grant  the  Motion  to 

Dismiss for the remaining transfers of $31,786,216.13. 

C.     The Claim for Constructive Fraud Under Bankruptcy Code Section 544(b)(1) and 
       Applicable Non‐Bankruptcy Law 
        
       The  Trustee’s  second  claim  (Count  II)  is  for  avoidance  of  the  Transfers  as 

constructively fraudulent under Sections 544(b)(1) and applicable non‐bankruptcy law.  

As a threshold issue, the Court must determine whether German law or the California or 

Delaware  Uniform  Fraudulent  Transfer  Act  (“UFTA”)  applies  to  the  Section  544(b)(1) 

claim.  The Parties agree that if German law were found to be the appropriate choice, the 

Trustee would not have a remedy to avoid the Transfers under Section 544(b)(1).  Both 

California  and  Delaware  have  adopted  the  UFTA.    The  elements  to  state  a  claim  for 

constructive  fraud  under  the  UFTA  mirror  the  elements  required  to  state  a  claim  for 
                                                 19
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page24
                                                          20ofof33
                                                                 26PageID #: 104



constructive  fraud  under  Section  548(a)(1)(A),  except  that  both  California’s  and 

Delaware’s  UFTA  extends  the  lookback  period  such  that  a  cause  of  action  must  be 

brought  within  four  years  after  the  transfer  was  made.    See  CAL.  CIV.  CODE 

§ 3439.04(a)(2)(A),  3439.09(b)  (West  2017);  DEL.  CODE  ANN.  tit.  6,  § 1304(a)(2),  1309(2) 

(West 2017). 

       The Court has explained that where it has jurisdiction and where competing laws 

conflict,  “the  Court  should  apply  the  ‘most  significant  relationship’  choice  of  law 

standard  to  determine  which  state  law  applies  to  the  fraudulent  transfer  claim.”    See 

Mervyn’s LLC, 426 B.R. 488, 496 n.6 (Bankr. D. Del. 2010) (citing Travelers Indemn. Co. v. 

Lake,  594  A.2d  38,  47  (Del.  1991)  (adopting  the  “most  significant  relationship  test”); 

Pennsylvania Employee, Benefit Trust Fund v. Zeneca, Inc., 710 F. Supp. 2d 458, 466 (D. Del. 

2010) (explaining the two‐pronged inquiry to Delaware’s choice of law approach).  The 

Restatement (Second) of Conflict of Laws (the “Restatement”) provides factors relevant 

to the most significant relationship test as follows: 

       (a) the needs of the interstate and international systems, 
             
       (b) the relevant policies of the forum, 
        
       (c) the relevant policies of other interested states and the relative interests  
            of those states in the determination of the particular issue, 
        
       (d) the protection of justified expectations, 
        
       (e) the basic policies underlying the particular field of law, 
        
       (f) certainty, predictability and uniformity of result, and 
                                               20
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page25
                                                          21ofof33
                                                                 26PageID #: 105



        
       (g) ease in the determination and application of the law to be applied. 
        
Restatement  § 6  (commentary  to  the  rule  states  “[v]arying  weight  will  be  given  to  a 

particular factor, or to a group of factors, in different areas of choice of law”). 

       The  Restatement  does  not  provide  a  general  framework  of  the  most  significant 

relationship test for fraudulent conveyance actions as it does for tort actions or restitution 

actions, among other actions.  See Restatement §§ 145, 221.  Nonetheless, the frameworks 

for tort and restitution actions are similar and provide guidance here.  The contacts to be 

considered in tort actions are: “(a) the place where the injury occurred, (b) the place where 

the conduct causing the injury occurred, (c) the domicile, residence, nationality, place of 

incorporation  and  place  of  business  of  the  parties,  and  (d)  the  place  where  the 

relationship, if any, between the parties is centered.” Restatement § 145.  Similarly, the 

contacts to be considered in restitution actions are: “(a) the place where a relationship 

between  the  parties  was  centered,  provided  that  the  receipt  of  enrichment  was 

substantially related to the relationship, (b) the place where the benefit or enrichment was 

received, (c) the place where the act conferring the benefit or enrichment was done, (d) 

the domicile, residence, nationality, place of incorporation and place of business of the 

parties, and (e) the place where a physical thing, such as land or a chattel, which was 

substantially  related  to  the  enrichment,  was  situated  at  the  time  of  the  enrichment.”  

Restatement § 221. 



                                               21
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page26
                                                          22ofof33
                                                                 26PageID #: 106



       The Court will apply the Restatement’s choice of law analysis to German law and 

the California and Delaware UFTA.  Applying the factors in Sections 6, 145, and 221 of 

the Restatement, the Court finds that German law should control the Section 544(b)(1) 

claim.  The following factors militate in favor of finding that German law applies: (1) the 

Agreements  expressly  provide  that  they  are  governed  by  German  law  with  Munich, 

Germany,  as  the  exclusive  place  of  jurisdiction,  (2) parties  centered  their  relationship 

under the Agreements where BMW was to develop manufacturing facilities and produce 

engines for Debtors, and (3) the wire transfers originated from the United States, but were 

received in Germany, in Euros. 

       In contrast, the only factors militating in favor of the application of the Delaware 

or California UFTA are that the Debtors were Delaware corporations with headquarters 

in California, that the funds may have included the proceeds of their DOE loan, and that 

the bulk of those harmed by the Transfers were within the United States.  As explained 

by  the  District  Court  in  Pennsylvania  Employee,  Benefit  Trust  Fund,  the  location  of  one 

party’s  headquarters  in  a  particular  forum  “stands,  at  best,  in  equipoise  with  the 

residence/place of business of the [the other party’s].”  710 F. Supp. 2d at 472.  The fact 

that the overwhelming majority of Debtors’ creditors who were harmed by the Transfers 

are  in  the  United  States  does  not  weigh  more  strongly  than  the  other  factors  favoring 

application of German law. 




                                                22
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page27
                                                          23ofof33
                                                                 26PageID #: 107



       Applying  the  general  principles  of  the  Restatement  § 6  does  not  alter  the 

conclusion that German law should apply.  The Trustee’s position is that it would not be 

able to pursue its claims because, among other reasons, the “relevant look‐back period 

under German law would not reach the [] Transfers.”  Opposition to Motion to Dismiss, 

8.  But even were the California or Delaware UFTA to apply, the Trustee would not be 

able to reach back more than four years because of the timing of the Trustee’s Complaint 

and UFTA’s four‐year lookback period.  Here, the Complaint was filed on November 11, 

2015.  Debtors made the same three wire transfers within four years of the filing of the 

Complaint and within two years of the Petition Date in the total amount of $793,761.87.  

Those transfers are the December 20, 2011 wire transfer in the amount of $351,787.50, the 

April 4, 2012 transfer in the amount of $400,581.00, and the April 9, 2012 transfer in the 

amount of $41,393.37.  As such, the Trustee’s Section 544(b)(1) claim would only reach 

back to the same 548(a)(1)(B) Eligible Transfers.  Moreover, application of German law 

better protects the “justified expectations” of the parties given the express provisions for 

disputes to be resolved in Germany applying German law.  See Restatement § 6(d). 

       For  these  reasons,  the  Court  concludes  that  German  law  applies  to  the  Section 

544(b)(1)  claim  and  as  such  BMW’s  Motion  to  Dismiss  Count  II  of  the  Complaint  for 

avoidance of the Transfers as constructively fraudulent under Section 544(b)(1) will be  

granted. 

        


                                              23
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page28
                                                          24ofof33
                                                                 26PageID #: 108



D.      The Claim for Unjust Enrichment 
 
        The Trustee’s fifth claim (Count V) is for return of the Transfers with the Trustee 

claiming  that  BMW  has  unjustly  retained  the  Transfers  at  the  expense  of  the  Debtors’ 

estates.  To state a claim for unjust enrichment sufficient to obtain restitution, the Trustee 

must  allege  five  elements:  “(1) an  enrichment,  (2) an  impoverishment,  (3) a  relation 

between the enrichment and impoverishment, (4) the absence of justification, and (5) the 

absence of a remedy provided by law.”  Nemec v. Shrader, 991 A.2d 1120, 1130 (Del. 2010) 

(citations  omitted).    The  unjust  enrichment  claim  is  that  BMW  received  a  benefit,  the 

Transfers,  at  the  expense  of  the  Debtors  and  it  would  be  “against  the  fundamental 

principles of justice or equity and good conscience” for BMW to retain the Transfers.  See 

Schock v. Nash, 732 A.2d 217, 232 (Del. 1999) (internal quotations and citations omitted). 

        The Court previously held in another case that a claim for unjust enrichment can 

survive a motion to dismiss where it is plausible that the plaintiff’s other claims may fail 

and  leave  the  plaintiff  without  a  remedy  at  law.    Halperin  v.  Moreno,  (In  re  Green  Field 

Energy Svcs., Inc.), 2015 WL 5146161 at *10 (Bankr. D. Del. Aug. 31, 2015) (noting that in 

the event the trustee did not prove the insolvency element of its fraudulent transfer claims 

later in the proceedings, the trustee may be left without remedy provided by law).   

        Here, the Trustee’s claims in Counts I, III and IV of the Complaint are surviving 

the  Motion  to  Dismiss  only  in  minor  part,  namely,  the  sum  of  $793,761.87  of  the 

$32,579,798.87 that comprise the Transfers.  The Court has ruled that the Trustee filed the 


                                                  24
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page29
                                                          25ofof33
                                                                 26PageID #: 109



Complaint too late for the vast amount of the Transfers.  However, the Trustee filed a 

claim  for  unjust  enrichment  (Count  V)  which  the  Court  will  not  dismiss  and  which 

includes all of the Transfers. 

       BMW  argues  that  “[t]he  contractual  relationship  between  Fisker  and  BMW  AG 

bars  the  Trustee  from  recovering  on  an  unjust  enrichment  theory.”    Defendants’ 

Memorandum at 23.  BMW cites cases in support of its position, including Kuroda v. SPJS 

Holdings, L.L.C., 971 A. 2d 872, 891 (Del. Ch. 2009), and Veloric v. J.G. Wentworth, Inc., 2014 

WL 4639217 at *19‐20 (Del. Ch. Sept. 18, 2014). 

       It  is  clear  however, that at  the  pleading stage it  is  entirely  acceptable  to pursue 

alternative theories.  Lass v. Bank of Am., N.A., 695 F. 3d 129, 140 (1st Cir. 2012).  It is also 

well established that  a  plaintiff may plead  alternative claims  for  relief  even where the 

pleading contains claims for breach of contract and unjust enrichment.  Pedrick v. Roten, 

70 F. Supp. 3d 638, 653 (D. Del. 2014) (citing Corbin on Contracts § 66.10 (2014) for the 

proposition that “[e]xpectancy damages and restitution will not ordinarily be given as 

concurrent remedies for the same injury, although they may be pleaded as alternatives”).  

The unjust enrichment claim in Count V is significant because it keeps alive the claim for 

the entire amount which the Trustee has placed at issue, namely, $32,579,798.87. 

        

        

        


                                                25
Case 1:17-mc-00160-GMS
            Case 15-51898-KG
                         Document
                              Doc1-3
                                  39 Filed
                                     Filed06/29/17
                                           06/13/17 Page
                                                     Page30
                                                          26ofof33
                                                                 26PageID #: 110



                                          CONCLUSION 

       The  Trustee  has  brought  the  adversary  proceeding  to  recover  more  than  $32.5 

million  that  Debtors  transferred  to  BMW  for  what  appears  to  be  little  or  nothing.    It 

remains unclear what, if any, Debtors received in return for the payments.  The Trustee 

has some viable claims. 

       The  Court  will:    (1)  deny  the  Motion  to  Dismiss  Counts  I,  III  and  IV  as  to 

$793,761.87 of the transfers, and grant the Motion to Dismiss Counts I, III and IV as to 

$31,786,216.13; grant the Motion to Dismiss Count II in its entirety; and deny the Motion 

to Dismiss Count V in its entirety. 

 

 

Dated:  June 13, 2017                         _________________________________________ 
                                              KEVIN GROSS, U.S.B.J. 




                                                26
Case 1:17-mc-00160-GMS
             Case 15-51898-KG
                         Document
                               Doc1-3
                                    40 Filed
                                         Filed
                                             06/29/17
                                               06/13/17Page
                                                         Page
                                                            311ofof33
                                                                    2 PageID #: 111



                  IN THE UNITED STATES BANKRUPTCY COURT 
                       FOR THE DISTRICT OF DELAWARE 
 
    In re:                                       )         Chapter 11 
                                                 )    
    FAH LIQUIDATING CORP., et al., (f/k/a        )    
    FISKER AUTOMOTIVE HOLDINGS, INC.),           )         Case No. 13‐13087(KG) 
                                                 )
                       Debtors.                  )
                                                 )
    EMERALD CAPITAL ADVISORS CORP., in           )    
    Its Capacity as Trustee for the              )         Adv. Pro. No. 15‐51898(KG) 
    FAH Liquidating Trust,                       )    
                                                 )    
                  Plaintiff,                     )    
                                                 )    
           v.                                    )    
                                                 )    
    BAYERISCHE MOTEREN WERKE                     )    
    AKTIENGESELLSCHAFT,                          )    
                                                 )         Re: D.I. 14 
                  Defendant.                     )


                                        ORDER 

        The defendant, Bayerische Moteren Werke Aktiengesellschaft (“BMW”), has filed 

a motion to dismiss the Complaint which the Trustee for the FAH Liquidating Trust filed 

(the “Motion to Dismiss”).  For the reasons explained in the accompanying Memorandum 

Opinion, IT IS ORDERED that: 

        1.    The Motion to Dismiss is denied for Counts I, III and IV of the Complaint 

(Bankruptcy Code Sections 548, 542 and 550), to the extent of $793,761.87, and granted to 

the extent of $31,786,216.13. 
Case 1:17-mc-00160-GMS
             Case 15-51898-KG
                         Document
                               Doc1-3
                                    40 Filed
                                         Filed
                                             06/29/17
                                               06/13/17Page
                                                         Page
                                                            322ofof33
                                                                    2 PageID #: 112



       2.    The Motion to Dismiss is granted with respect to Count II of the Complaint 

(Bankruptcy Code Section 544). 

       3.    The  Motion  to  Dismiss  is  denied  with  respect  to  Count  V  (unjust 

enrichment) of the Complaint. 




Dated: June 13, 2017                          ____________________________________
                                              KEVIN GROSS, U.S.B.J.




                                          2
Case 1:17-mc-00160-GMS Document 1-3 Filed 06/29/17 Page 33 of 33 PageID #: 113



                                CERTIFICATE OF SERVICE

           I, Colm F. Connolly, hereby certify that on this 29th day of June, 2017, I
   electronically filed a true and correct copy of Defendant’s Notice of Motion for Leave to
   Allow Interlocutory Appeal and accompanying Motion for Leave to Allow Interlocutory
   Appeal (both with exhibits) using the Court’s electronic case filing system, which will
   send electronic notification of such filings to all parties that have appeared in this action.


                                                         /s/ Colm F. Connolly
                                                         Colm F. Connolly (No. 3151)
                                                         Morgan, Lewis & Bockius LLP
